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           ORAL ARGUMENT NOT YET SCHEDULED

No. 24-1188 (lead, consolidated with No. 24-1191, No. 24-1192)

       In the United States Court of Appeals
        For the District of Columbia Circuit
  American Water Works Association and Association of Metropolitan
                        Water Agencies,
                           Petitioners,

                                  v.

United States Environmental Protection Agency, and Michael S. Regan,
in his official capacity as Administrator, United States Environmental
                            Protection Agency,
                              Respondents.

    ON PETITION FOR REVIEW FROM FINAL RULE OF THE UNITED STATES
                ENVIRONMENTAL PROTECTION AGENCY,
                  89 FED. REG. 32,532 (APR. 26, 2024)

 BRIEF OF THE CHAMBER OF COMMERCE OF THE UNITED
 STATES OF AMERICA AS AMICUS CURIAE IN SUPPORT OF
                   PETITIONERS


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               CERTIFICATE AS TO PARTIES, RULINGS,
                       AND RELATED CASES

         In accordance with D.C. Circuit Rule 28(a)(1), amicus curiae states

as follows:

    I.        Parties, Intervenors, and Amici Curiae

         Except for the following, all parties, intervenors, and amici

appearing in this Court are listed in the Opening Brief of Petitioners

American Water Works Association and Association of Metropolitan

Water Agencies at page i; and the Brief for Petitioners National

Association of Manufacturers, American Chemistry Council, and The

Chemours Company FC, LLC at page iii.

         Amicus curiae in support of Petitioners is the Chamber of

Commerce of the United States of America. The State of Connecticut has

indicated the intent to participate as amicus curiae in support of

Respondents.

   II.        Rulings Under Review

         References to the rulings at issue appear in the Opening Brief of

Petitioners American Water Works Association and Association of

Metropolitan Water Agencies at page ii.

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  III.           Related Cases

         This case has been consolidated with the following petitions for

review      of    the   same   EPA   final    rule:    National     Association    of

Manufacturers, et al. v. EPA, et al. (No. 24-1191), and The Chemours

Company FC, LLC v. EPA, et al. (No. 24-1192). Amicus curiae is aware of

no other related cases within the meaning of D.C. Circuit Rule

28(a)(1)(C).




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            CORPORATE DISCLOSURE STATEMENT

     The Chamber of Commerce of the United States of America

(“Chamber”) is a non-profit, tax-exempt organization incorporated in the

District of Columbia. The Chamber has no parent corporation, and no

publicly held company has 10% or greater ownership in the Chamber.




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                      GLOSSARY OF TERMS


ATSDR                            Agency for Toxic Substances and
                                 Disease Registry

Chamber                          Chamber of Commerce of the United
                                 States of America

EPA                              Environmental Protection Agency

HFPO-DA                          Hexafluoropropylene oxide dimer acid

HISA                             Highly Influential Scientific
                                 Assessments

ISI                              Influential Scientific Information

PFAS                             Per-and-polyfluoroalkyl substances

PFBS                             Perfluorobutane sulfonic acid

PFHxS                            Perfluorohexane sulfonic acid

PFNA                             Perfluorononanoic acid

PFOA                             Perfluorooctanoic acid

PFOS                             Perfluorooctane sulfonic acid

ppt                              Parts per trillion

SDWA PFAS Rule or Final Rule PFAS National Primary Drinking
                             Water Regulation

SDWA                             Safe Drinking Water Act


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                 STATUTES AND REGULATIONS

     All applicable statutes and regulations are included in the

Statutory and Regulatory Addendum of Petitioners American Water

Works Association and Association of Metropolitan Water Agencies.

                 INTEREST OF AMICUS CURIAE1

     The Chamber of Commerce of the United States of America

(“Chamber”) is the world’s largest business federation. It represents

approximately 300,000 direct members and indirectly represents the

interests of more than three million companies and professional

organizations of every size, in every industry sector, and from every

region of the country. An important function of the Chamber is to

represent the interests of its members in matters before Congress, the

Executive Branch, and the courts. To that end, the Chamber regularly

files amicus curiae briefs in cases, like this one, that raise issues of

concern to the nation’s business community.




     1 No counsel for any party authored this brief in whole or in part,

and no entity or person, aside from amicus, its members, or its counsel,
made any monetary contribution intended to fund the preparation or
submission of this brief.
                                   1
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      The Chamber is well-situated to aid the Court’s review of EPA’s

regulation of per-and-polyfluoroalkyl substances (“PFAS”) under the Safe

Drinking Water Act (“SDWA”). PFAS National Primary Drinking Water

Regulation, 89 Fed. Reg. 32,532 (“SDWA PFAS Rule” or “Final Rule”).

The Chamber represents members that span key U.S. supply chains

utilizing a wide range of substances within the class of PFAS, whose

products and technologies are essential to America’s economic growth,

water infrastructure, and national security. Many of these companies

operate   public     water   systems,       including   “Non-Transient      Non-

Community Water Systems” that are regulated by the SDWA PFAS Rule.

The Chamber’s members face an unprecedented burden of significant

and unjustified costs imposed directly and indirectly by this rule.

Further, EPA’s determinations to support the rule are not based on the

best available science, as required for setting a national primary drinking

water regulation under SDWA. A Chamber-led coalition filed extensive

comments on the rule when it was proposed, expressing serious concerns

about these and other legal and policy issues in considerable detail.




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Comments of the U.S. Chamber of Commerce and Its Coalition, EPA-HQ-

OW-2022-0114-1759 (May 30, 2023).2

        Pursuant to Circuit Rule 29(d), the Chamber certifies that it is

aware of no other amicus curiae that intends to file a brief in support of

Petitioners.

                           INTRODUCTION
                     AND SUMMARY OF ARGUMENT

        This case presents a challenge to an EPA final rule that governs six

specific PFAS substances in drinking water under the Safe Drinking

Water Act. The term “PFAS” encompasses an entire class of chemical

substances. Petitioners’ Br. at 3–4. The six specific PFAS that EPA

regulates under the Final Rule are known by the acronyms PFOA, PFOS,

PFHxS, PFNA, HFPO-DA, and PFBS.3 In light of their use in a variety

of contexts, EPA has said that PFAS substances are present in public

water systems nationwide.




        2   https://www.regulations.gov/comment/EPA-HQ-OW-2022-0114-
1713.
        3 These
              are perfluorooctanoic acid, perfluorooctane sulfonic acid,
perfluorohexane      sulfonic     acid,     perfluorononanoic      acid,
hexafluoropropylene oxide dimer acid, and perfluorobutane sulfonic acid,
respectively.
                                      3
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      The Chamber supports the goal of national primary drinking water

regulations under SDWA to reduce contaminants in drinking water.

National standards would help avoid a patchwork of state actions,

promoting certainty and consistency for businesses and other impacted

stakeholders. More broadly, the Chamber supports the safe management

of PFAS and protecting human health and the environment. However,

the Final Rule is problematic in several respects, including that it would

impose enormous costs on the economy without obtaining the benefits

that SDWA is designed to deliver. This imbalance in the Final Rule does

not comply with the careful approach that SDWA requires.

      The Final Rule is expected to directly affect more than 66,000

nation-wide public water systems, serving 90% of Americans. Most of

these water systems—62,000—are small public water systems.4 89 Fed.

Reg. at 32,722. These systems will be required to comply with Maximum

Contaminant      Levels—which      dictate   the     highest     permitted

concentrations of a substance—for five of the six PFAS on an individual

basis.5 The systems will also be required to comply with a Hazard


      4 Small public water systems serve between 25 and 10,000 people.

      5 PFOA, PFOS, PFHxS, PFNA, and HFPO-DA.

                                    4
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Index—something EPA has never used in the SDWA context—that

measures the combined harm from certain mixtures of the covered

PFAS.6

      The Final Rule sets Maximum Contaminant Levels at 4 parts per

trillion (“ppt”) for two PFAS (PFOA and PFOS) and 10 ppt for the other

three PFAS (PFNA, PFHxS, and HFPO-DA). The amount of PFAS at

these levels is minuscule—one part per trillion is equivalent to one drop

of water in 20 Olympic-sized swimming pools.7

      These Maximum Contaminant Levels will impose substantial costs

and burdens on public water systems merely to monitor these PFAS.

While EPA finds it to be technically achievable to treat drinking water

to these infinitesimal levels of PFAS, it gives short shrift to the

affordability of this mandate. EPA relies on non-recurring federal

funding from the Bipartisan Infrastructure Law to kickstart this process,




      6 The Hazard Index applies to mixtures comprising two or more of

PFHxS, PFNA, HFPO-DA, and PFBS.
      7 See Missouri Department of Natural Resources, Understanding

Data, https://dnr.mo.gov/monitoring/understanding-data#:~:text=One%
(last visited Oct. 15, 2024).
                                    5
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but that temporary funding simply isn’t sufficient, even if actually

available now.

      The Final Rule should be vacated because it is arbitrary and

capricious, and exceeds statutory authority, including by violating the

Safe Drinking Water Act’s requirement that EPA use best available

science in its decision making. This brief focuses on two of the

fundamental problems with the Final Rule.8

      First, EPA failed to accurately assess the likely costs and

consequences of its rule. SDWA permits only cost-effective rules, which

requires an appropriate assessment of the costs of the rule in order to

weigh them against the rule’s benefits. And the Administrative

Procedure Act requires agencies to consider the likely consequences of

their decisions before making those decisions. Here, EPA ignored billions

of dollars that communities, homeowners, and other ratepayers will

likely pay under the Final Rule to modify their facilities to monitor and

to remove the requisite tiny levels of PFAS. EPA exacerbated this error



      8 The Chamber agrees with Petitioners that the Final Rule is
invalid on several other grounds, including that EPA unlawfully short-
circuited the express procedure mandated by SDWA for proposing to
regulate substances.
                                    6
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by relying on temporary funds from the Bipartisan Infrastructure Law

that will soon disappear.

        Second, EPA failed to comply with SDWA’s clear mandate to use

the best available science when EPA decided to regulate PFAS in the

first place. Much of the science EPA relies on to justify its rule is

incomplete and inconclusive. For one thing, the “Hazard Index” EPA

finalized for certain mixtures of two or more PFAS is unprecedented in

any nationwide rulemaking. Moreover, the Hazard Index is not

appropriate for SDWA because it is a screening-level tool—meaning that

it is designed for quick sorting followed by closer scrutiny, and thus

deliberately over-predicts risk. In addition, for four of the six PFAS at

issue, EPA violated SDWA’s requirement that EPA consult its own

Science Advisory Board, an independent review board authorized by

Congress specifically to review scientific information being used by EPA

as the basis for its regulations.

                               ARGUMENT

   I.     EPA failed to properly assess the costs and benefits of the
          SDWA PFAS Rule.

        The Safe Drinking Water Act requires EPA to promulgate cost-

effective rules, meaning the costs of the rule must be justified by the
                                    7
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benefits. As a threshold matter, that requires EPA to accurately assess

the costs. But EPA failed to do that here. And even a passing review

reveals significant defects in EPA’s analysis of benefits.

      A.   SDWA permits only cost-effective rules.

      SDWA does not give EPA a free hand to impose regulations

notwithstanding the cost of those rules. Rather, it requires a detailed

assessment of costs, which must be balanced against the expected

benefits. Indeed, that assessment is required at multiple steps in the

rulemaking process, serving the overarching purpose of ensuring that

EPA’s drinking-water regulations will be cost-effective.

      First, EPA must accurately assess costs at the very beginning of its

rulemaking. When first proposing a drinking-water regulation such as

the Final Rule (that is, one that contains a Maximum Contaminant

Level), EPA must publish, seek public comment on, and “use” an analysis

of the “quantifiable and nonquantifiable costs” that are “likely to occur

solely as a result of compliance with the [Maximum Contaminant Level].”

42 U.S.C. § 300g-1(b)(3)(C)(i)(III). These include the costs of monitoring

and treatment. Id. EPA must also publicly determine whether the




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benefits of the Maximum Contaminant Level justify the costs. Id. § 300g-

1(b)(4)(C).

      Next, if EPA then determines, after considering public comment,

that its proposed rule is not cost-effective—because the benefits of the

proposed Maximum Contaminant Level do not justify the costs of

compliance—EPA may propose a new Maximum Contaminant Level. Id.

§ 300g-1(b)(6)(A). Then, after notice and comment on the revised level,

and after EPA properly concludes that the revised level would be cost-

effective, EPA can promulgate a rule. Id.

      Finally, SDWA requires that the Maximum Contaminant Level

“shall not be more stringent than is feasible.” Id. § 300g-1(b)(5)(B)(ii).

SDWA defines “feasible” to require “taking cost into consideration.” Id.

      B.      EPA failed to adequately assess the costs of the SDWA
              PFAS Rule.

      According to EPA, the quantifiable annual costs and quantifiable

annual benefits of the Final Rule are a wash, each being approximately

$1.55 billion. 89 Fed. Reg. at 32,533. But that assessment excludes

billions of dollars that water-treatment systems, homeowners, and other

ratepayers will be forced to pay as a result of this rule. Accordingly, EPA’s

assessment is arbitrary and capricious, requiring vacatur of the rule. 42
                                     9
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U.S.C. § 300g-1(b)(6)(D). Multiple studies confirm that compliance costs

for PFOA and PFOS will be substantially higher than EPA predicts.

      First is a study submitted by Petitioners American Water Works

Association and Association of Metropolitan Water Agencies (“Black &

Veatch Study”). Focusing just on two of the covered PFAS (PFOA and

PFOS), the study found that when the Maximum Contaminant Levels

are set at 4 ppt, the annual cost of compliance will be almost three times

higher than EPA’s estimate of $1.5 billion annually for all six PFAS. See

AWWA, Costs of Removing PFAS from Drinking Water;9 see also Black &

Veatch Study at Appendix A, Table A-5.

      The Black & Veatch Study estimates annual compliance costs for

PFOA and PFOS alone at $2.5 billion to $3.2 billion (depending on the

discount rate). These costs will be borne by individuals and other

ratepayers, such as businesses, that are customers of the drinking water

utility, and vary considerably based on the size of the water utility. For

example, the costs to households could be $100 or more per year for

utilities serving more than one million people. Black & Veatch Study at



      9     https://www.awwa.org/wp-content/uploads/PFAS-Costs-Fact-
Sheet.pdf (last visited Oct. 15, 2024).
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33. But that cost climbs to $3,570 a year for utilities serving fewer than

one hundred people, given the need to install and operate new treatment

technologies. Id. And those are just the costs attributable to PFOA and

PFOS. The Black & Veatch Study does not address the other three PFAS

substances that now have individual Maximum Contaminant Levels or

the four PFAS that, as a mixture, now have a Hazard Index Maximum

Contaminant Level.

      The Black & Veatch Study relied on far more current cost data than

EPA and considered the effect of thousands of water systems trying all

at once to put in place the same treatment technologies. See EPA,

Response to Public Comments on Per-and-Polyfluoroalkyl Substances

(PFAS) National Primary Drinking Water Regulation (April 2024)

(“Response to Comments”), at 3,815. The simultaneous, nationwide rush

will increase demand for laboratories, engineering consultants, planners,

contractors skilled treatment operators, which in turn increases price. Id.

EPA ignored these factors.10


      10 EPA asserted that the Black & Veatch study over-estimates costs

to water-treatment systems by assuming that all are not in compliance
with state PFAS regulations when some are already in compliance
because of state regulation. Response to Comments at 3,708. However,
— footnote cont’d —
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      In contrast, EPA miscalculated drastically lower costs through

stale data and flawed reasoning. EPA based its assumptions about water

use on data from the 1990s and published in 2000. See id. at 3,709. EPA

also relied on outdated construction-cost data that does not reflect recent

price increases arising from the COVID-19 pandemic, supply-chain

disruption, and higher interest rates.11

      Second, a study conducted by the Chamber further confirms that

compliance costs relating to just PFOA and PFOS will be significantly

higher than EPA predicts.

      This study initially estimated total water-treatment costs of $10

billion to $12 billion (in 2020 dollars), assuming a Maximum

Contamination Level of 10 ppt or less (with approximately $1.8 billion in



the Black & Veatch study estimates separately, and removes from the
national cost estimate, the PFAS treatment costs associated with
compliance with state Maximum Contaminant Levels. Black & Veatch
study at 29.
      11 For example, the Black & Veatch Study incorporated real-world

contingency factors in its capital-cost assumptions, such as 4% for
contractor markups and 30% for non-construction costs. These
multipliers are standard, based on the recommendations of the American
Association of Cost Engineering Recommended Practices. Black & Veatch
Study at 23. EPA’s cost estimate incorporated only a 5% to 10%
contingency based on total project cost plus a 10% miscellaneous
allowance. 89 Fed. Reg. at 32,640.
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annual costs). U.S. Chamber of Commerce, Potential Costs of Meeting

Safe Drinking Water Act (SDWA) Standards for PFOA and PFOS at 3

(November 7, 2022).12 Costs increase greatly if the Maximum

Contaminant Level is set below 10 ppt. Id. at 3. When levels for PFOA

and PFOS are set at 10 ppt, total estimated costs are approximately $11.7

billion. But when the levels are set lower at a “non-detect scenario” (the

level below detection), costs nearly quadruple, to $43.2 billion. Id. at 7.

      The Chamber then updated its study, calculating costs at a

Maximum Containment Level of 4 ppt (in 2022 dollars). Id. at 12. The

Chamber’s report estimated that costs skyrocket to approximately $32.5

billion. Id. For the non-detect scenario, the estimated costs jump to

approximately $59.4 billion (again, in 2022 dollars). Id.

      EPA, of course, has now promulgated a Maximum Contamination

Level of 4 ppt for PFOA and PFOS. And, again, these are just the

estimated costs of the impact of Maximum Contaminant Levels for PFOA

and PFOS—not all the PFAS substances at issue in the Final Rule.




      12  https://www.globalenergyinstitute.org/potential-costs-meeting-
safe-drinking-water-act-sdwa-standards-pfoa-and-pfos.
                                     13
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      C.   EPA cannot justify these costs with non-recurring
           federal funding.

      EPA attempts to justify the costs to comply with the Final Rule by

relying on the Bipartisan Infrastructure Law, which, EPA says, will

defray the costs of compliance. EPA’s reasoning ignores a key aspect of

the problem: these funds are simply inadequate.

      To begin, current access to these funds is speculative. By EPA’s

calculation, the Bipartisan Infrastructure Law invests approximately

$20 billion in safe drinking water over a five-year period, using funds and

grants to address emerging contaminants. 89 Fed. Reg. at 32,534, 32,538.

But those funds are designed to address far more than just PFAS,

including lead-pipe replacement.13 Accordingly, funding to address PFAS

in every impacted public water system is far from guaranteed. In

addition, that funding would take time—water systems would have to




      13 On October 8, 2024, EPA just finalized a rule requiring drinking

water systems to identify and replace lead pipes within 10 years, which
EPA intends to fund through the Bipartisan Infrastructure Law. See
EPA, Biden-Harris Administration Requires Replacement of Lead Pipes
Within 10 Years, Announces Over $168M in Funding to EPA Region 8
States (Oct. 8, 2024), https://www.epa.gov/newsreleases/biden-harris-
administration-requires-replacement-lead-pipes-within-10-years-
announces.
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apply for funding while, in the meantime, incurring compliance costs

until receiving funds, if any.

      Further, this funding may be temporary. To the extent water

systems’ costs outlast the short-term funding available through the

Bipartisan Infrastructure Law, the systems will face compliance costs in

an unfunded mandate, costs that will be paid by communities and other

ratepayers.

      D.   EPA’s evaluation of the benefits of the SDWA PFAS
           Rule was deficient.

      EPA not only underestimated the costs of the Final Rule, it

overestimated the benefits as well. SDWA required EPA to use best

available science and provide a factual basis when EPA evaluated the

benefits from the Final Rule. 42 U.S.C. § 300g-1(b)(3)(C). In concluding

that the benefits of the Final Rule are “nearly at parity” with the rule’s

costs, 89 Fed. Reg. at 32,533, EPA did not comply with SDWA’s

requirements.

      EPA’s assessment of the benefits of the Final Rule is based on its

estimate that that there will be “29,858 fewer illnesses and 9,614 fewer

deaths in the decades following actions to reduce PFAS levels in drinking



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water.” Id. EPA has not provided a sound scientific basis for this

statement.

      In particular, EPA touts supposed reductions in cardiovascular

disease. 89 Fed. Reg. at 32,683. But EPA concedes that it relied on studies

considered to be low quality, 89 Fed. Reg. at 32,636, and notes that the

data on which it relies is “not conclusive.” PFAS National Primary

Drinking Water Regulation Rulemaking, 88 Fed. Reg. 18,638, 18,704

(March 29, 2023) (noting that the “[e]vidence of the relationship between

the PFAS compound and the health outcome is not conclusive”); Response

to Comments at 3,945; 89 Fed. Reg. at 32,683 (literature “does not provide

direct support for an effect of PFOA and PFOS on the risk of

[cardiovascular disease]”); Public Comment Draft, Toxicity Assessment

and Proposed Maximum Contaminant Level Goal for [PFOS] in Drinking

Water at 214 (March 2024) (“While there is some evidence that PFOS

exposure might also have the potential to affect blood pressure and other

cardiovascular   responses    in   humans     given   relevant     exposure

circumstances, the human evidence underlying this possibility is

uncertain and without support from animal or mechanistic studies.”)

(emphasis added).

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   II.        EPA failed to use the best available science when it
              decided to regulate PFAS.

         In carrying out SDWA, to the degree EPA bases an action on

science, EPA is required to use “the best available, peer-reviewed science

and supporting studies conducted in accordance with sound and objective

scientific practices” when deciding whether to regulate a substance. 42

U.S.C. § 300g-1(b)(3)(A)(i). EPA is also required to consult with its

Science Advisory Board before proposing a drinking-water regulation. 42

U.S.C. § 300g-1(e). EPA failed in both respects.

         A.     The Hazard Index approach used to establish
                Maximum Contaminant Levels and Maximum
                Contaminant Level Goals for mixtures of PFAS is not
                based on the best available science.

         In addition to setting Maximum Contaminant Levels for five PFAS

substances on an individual basis, EPA used for the first-time in the

SDWA context a Hazard Index approach for mixtures of two or more of

the following PFAS: PFBS, PFHxS, PFNA, and HFPO-DA. A Hazard

Index measures the combined harm from a mixture of different

chemicals. It is a sum of “hazard quotients” from each PFAS substance.

The hazard quotient is the ratio of exposure of the individual PFAS to

the level where adverse effects are not anticipated to occur—so a ratio of


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less than 1 means no adverse health effects are expected to occur. In the

Final Rule, EPA mixed and matched different health endpoints and

combined them into a single Hazard Index. It examined thyroid harm

from two PFAS (PFHxS and PFBS), body-weight changes for another

PFAS (PFNA), and liver lesions for still another PFAS (HFPO-DA). It

then blended all this data together to create a single Hazard Index.

      The hazard-index approach is not best available science. This

hazard index approach is a screening-level approach that is deliberately

designed to overpredict any actual risks. If risk is identified, more refined

evaluation is necessary to see if those risks are actually expected to occur.

See EPA, Exposure Assessment Tools by Tiers and Types- Screening Level

and Refined (May 6, 2024).”14 It is not meant as a be-all-end-all for

regulatory action.

      That is what EPA’s own Science Advisory Board told the Agency.

The Science Advisory Board is tasked with reviewing the quality and

relevance of scientific information EPA presents as the basis for its




      14  https://www.epa.gov/expobox/exposure-assessment-tools-tiers-
and-types-screening-level-and-refined.
                                     18
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regulations, and the board provides recommendations to EPA.15 As the

Science Advisory Board told EPA, a Hazard Index approach that relies

on different effects is appropriate only as a screening tool. EPA,

Transmittal of the Science Advisory Board Report titled, ‘‘Review of EPA’s

Analyses   to   Support   EPA’s   National   Primary      Drinking    Water

Rulemaking for PFAS” 92 (Aug. 22, 2022).16 Specifically, the Science

Advisory Board stated that a “Hazard Index (HI) approach . . . is

appropriate for initial screening of whether exposure to a mixture of

PFAS poses a potential risk.” Id. (emphasis added). That risk should then

be “further evaluated.” Id. (emphasis added). The Science Advisory Board

instead gave a favorable review for developing different mixture-

assessment approaches.17 But EPA rejected those approaches and went

forward with the less refined Hazard Index approach to establish a


      15     EPA,     About      the     Science    Advisory    Board,
https://sab.epa.gov/ords/sab/r/sab_apex/sab/aboutthesab?session=33357
06034637 (last visited Oct. 15, 2024).
      16

https://sab.epa.gov/ords/sab/f?p=114:0:7620061737328:APPLICAT
ION_PROCESS=REPORT_DOC:::REPORT_ID:1105.
      17  See EPA, Public Review Draft at 4 (Mar. 2023),
https://www.epa.gov/system/files/documents/2023-
03/PFAS%20Mix%20Framework%20Public%20Review%20Draft%2009
%20March%202023.pdf.
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Maximum Contaminant Level for certain mixtures. That was not

consistent with the Science Advisory Board’s advice and does not reflect

the best available science.

      Indeed, using a Hazard Index approach to set a Maximum

Contaminant Level is not permitted by the statute. The term “Maximum

Contaminant Level” under SDWA means “the maximum permissible

level of a contaminant in water which is delivered to any user of a public

water system.” 42 U.S.C. § 300f(3). SDWA contemplates setting

Maximum Contaminant Levels for each contaminant individually and

with a specific level, so that regulated entities can understand the levels

that must be achieved for compliance. 42 U.S.C. § 300g-1(b)(1)(E).

      SDWA does not allow EPA to set Maximum Contaminant Levels for

a mixture, let alone by using a complex equation. The term “mixture”

appears only twice in the statute, and it is related to drinking water

studies of complex mixtures. 42 U.S.C. § 300j-18(b)(3). The statutory text

reflects that Congress never intended for EPA to use Maximum

Contaminant Levels to regulate mixtures of contaminants under SDWA

rather than individual contaminants.




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      The Hazard Index approach is inconsistent with SDWA because it

sets a limitation on a group of chemicals rather than the individual

chemicals, and it does not set a “level” as contemplated by the statute.

This is not a measurement in parts per million or any other set level that

public water systems can reliably measure. The Hazard Index is a highly

variable equation that public water systems have to calculate, and can

change over time as inputs change as the health-based water

concentration may change.

      B.   EPA used human-health data that did not reflect best
           available science.

           1.     EPA violated SDWA by failing to seek review from
                  its Science Advisory Board for four of the six PFAS
                  substances it is regulating.

      In violation of SDWA, EPA failed to seek peer review from the

Science Advisory Board for most of the PFAS substances regulated under

the Final Rule.

      SDWA expressly requires EPA to seek review from the Science

Advisory Board for all PFAS substances EPA regulates under the Final

Rule. The statute provides that EPA “shall request comments from the

Science Advisory Board . . . prior to proposal of a maximum contaminant

level goal and national primary drinking water regulation.” 42 U.S.C.
                                    21
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§ 300g-1(e). EPA did not do that for PFHxS, PFNA, or HFPO-DA or for

the Hazard Index for the specific mixture of PFAS regulated by this rule.

      The Science Advisory Board process is far more robust than

processes run by external contractors. For instance, the Science Advisory

Board engages in deliberations and strives to reach consensus in all their

reports because their final product is meant to be a consensus advisory

report. EPA, Serving on the EPA Science Advisory Board (Mar. 2012).18

The Science Advisory Board also must abide by ethics requirements

(including financial disclosure requirements).19 Further, the Science

Advisory Board is a Federal Advisory Committee, so it must comply with

the   rigorous   oversight,   public        involvement,    and       transparency

requirements of the Federal Advisory Committee Act. 5 U.S.C. § 10.

      This Court has recognized the importance of Science Advisory

Board review when establishing drinking water levels under SDWA. In




      18

https://sab.epa.gov/ords/sab/r/sab_apex/files/static/v403/Serving%
20on%20the%20EPA%20Science%20Advisory%20Board%20SABSO-12-
001.pdf.
      19     EPA,       Ethics      Requirements     for       Advisors,
https://sab.epa.gov/ords/sab/f?p=114:5:8938056644022     (last   visited
Oct. 15, 2024).
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Chlorine Chemistry Council v. EPA, chlorine and chlorine-product

manufacturers challenged EPA’s Maximum Contaminant Level Goals for

chloroform because EPA set these at zero based an internal policy for

carcinogens. Chlorine Chemistry Council v. EPA, 206 F.3d 1286, 1287

(D.C. Cir. 2000). During the rulemaking process, the Science Advisory

Board proved EPA wrong, finding that there was no carcinogenic effect

at low thresholds. Id. at 1288. In the resulting litigation, EPA conceded

in response to the Science Advisory Board’s advice that EPA could no

longer continue to defend its assessment. Id. Chlorine Chemistry Council

demonstrates that the Science Advisory Board review can result in

conclusions contrary to EPA’s policies and, therefore, significantly alter

the outcome of a proposed drinking-water standard.

           2.   EPA inappropriately relied on other external
                assessments that did not undergo robust peer
                review.

      For two PFAS compounds, PFHxS and PFNA, EPA relied on a

simple “letter review” peer-review process from the Agency for Toxic

Substances and Disease Registry (“ATSDR”), a federal public health

agency of the U.S. Department of Health and Human Services, to

evaluate health assessments. In this “letter review” process, experts

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individually review a proposal. They do not convene on a panel, they do

not engage directly with public commenters, and their review is not

governed by the Federal Advisory Committee Act, which helps ensure

committee membership is fairly balanced. This is not the robust peer

review process from the Science Advisory Board that SDWA requires.

      Indeed, EPA’s own guidelines contemplate more than the “letter

review” it received for these two compounds. EPA’s Peer Review

Handbook describes best practices for the peer review of Influential

Scientific Information (“ISI”) or a subset of ISIs called Highly Influential

Scientific Assessments (“HISAs”). EPA, Peer Review Handbook 40 (4th

ed. 2015).20 ISI is scientific information that EPA “reasonably can

determine will have or does have a clear and substantial impact on

important public policies or private-sector decisions.” Id. at 42. A HISA

is a scientific assessment that could have a potential impact of more than

$500 million in a year or is “novel, controversial, precedent-setting or has

significant interagency interest.” Id. ISIs and HISAs receive extensive

peer review. For HISAs, in particular, an external peer review panel is




      20 https://www.epa.gov/scientific-leadership/peer-review.

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preferred. Id. at 55–57. A panel review is more robust and deliberative,

allows for public input directly to panel members, and is governed by the

Federal Advisory Committee Act. See id. at 75.

      Regulation of PFAS in a nationwide rule that will cost $1.5 billion

per year (according to EPA estimates) easily fits within the definitions of

both Highly Influential Scientific Assessments and Influential Scientific

Information. The costs and impact are enormous. Using a letter review,

one of the least onerous forms of review, does not satisfy EPA’s own Peer

Review Handbook.

      Even the Agency for Toxic Substances and Disease Registry would

disagree with EPA’s use of ATSDR’s assessments. ATSDR describes the

values they develop as “[i]ntended to serve as screening levels” that “are

used by ATSDR health assessors and other responders to identify

contaminants and potential health effects that may be of concern at

hazardous waste sites.” See ATSDR, Minimal Risk Levels (MRLs)—For

Professionals (Feb. 8, 2024).21 ATSDR states that its results are “not




      21 https://www.atsdr.cdc.gov/mrls/index.html.

                                    25
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intended to define cleanup or action levels” for anyone, including EPA.

Id. (emphasis added).

                            CONCLUSION

      The Court should vacate the Final Rule and remand to EPA.

                                        Respectfully submitted,

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      This brief contains 5,769 words excluding the parts of the brief that

Federal Rule of Appellate Procedure 32(f) and D.C. Circuit Rule 32(e)(1)

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